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                 Subject: Re: Expiring iPhone Device Sub-CA
                   From: "Dallas De Atley" <deatley@apple.com>
            Received(Date): Fri, 22 Feb 2013 20:32:20 +0000
                      To: "Matthew Murphy" <matthew.murphy@apple.com>
                      Cc: "John Noll" <noll@apple.com>, "Gigi Choy" <gigi@apple.com>,"Scott
                            Boyd" <scott_boyd@apple.com>, "Curt Spann" <cspann@apple.com>,"Paul
                            Chinn" <pchinn@apple.com>, "Andrew Whalley" <arw@apple.com>
                    Date: Fri, 22 Feb 2013 20:32:20 +0000

           We use that CA to issue the device identities at activation time, I believe. We should
           double check on the trust policies that enforce how those identities are used.

           We should make sure that we have a transition plan implemented for Innsbruck:
           <rdar://problem/13275668> Ensure that Innsbruck can survive the expiration of the
           iPhone Device Sub CA on April 16th, 2014

           Dallas

           On Feb 22, 2013, at 11:09 AM, Matthew Murphy <matthew.murphy@apple.com> wrote:

           > Hi Dallas,
           >
           > I met with the PKI Services team this morning. There was some question about the
           "iPhone Device Sub-CA", which expires in just over a year (on April 16, 2014).
           >
           > We're unsure what the impact of this expiration might be, and want to ascertain
           whether there might be any breakage.
           >
           > Do you know what the uses of this hierarchy are, or where I could find out more about
           the potential risks?
           >
           > Thanks,
           > Matt
           >
           > Sent from my iPhone




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